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                   UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION


 IN RE GEORGIA SENATE BILL 202                Master Case No.:
                                              1:21-MI-55555-JPB


             PRIVATE PLAINTIFFS’ OPPOSITION TO STATE
          DEFENDANTS’ MOTION TO REOPEN LIMITED EXPERT
                 DISCOVERY ON THE 2024 ELECTIONS




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I.        INTRODUCTION

          Private Plaintiffs 1 respectfully request that the Court deny State Defendants’

motion to engage in supplemental discovery and supplemental briefing at this stage

of the case.

          As early as October 2023, before Private Plaintiffs devoted enormous

resources to brief their oppositions to State Defendants’ seven summary judgment

motions, State Defendants should have disclosed that they wanted to explore

evidence related to voting in the 2024 election and incorporate that evidence into the

parties’ summary judgment submissions. Yet they said nothing and waited to file

their belated and procedurally improper request to reopen summary judgment

briefing over eighteen months after the close of discovery and issuance of the




1
  For the purposes of this motion, “Private Plaintiffs” encompasses Plaintiffs in five
consolidated cases: Sixth District of the African Methodist Episcopal Church, Delta
Sigma Theta Sorority, Georgia ADAPT, Georgia Advocacy Office, Georgia Muslim
Voter Project, Women Watch Afrika, Latino Community Fund Georgia, The Arc of
the United States, Asian Americans Advancing Justice–Atlanta, Steven J. Paik, Nora
Aquino, Angelina Thuy Uddullah, and Anjali Enjeti-Sydow, Georgia State
Conference of the NAACP, Georgia Coalition for the People’s Agenda, Inc., League
of Women Voters of Georgia, Inc., GALEO Latino Community Development Fund,
Inc., Common Cause, the Lower Muskogee Creek Tribe, The Concerned Black
Clergy of Metropolitan Atlanta, Inc., The Justice Initiative, Inc., Metropolitan
Atlanta Baptist Ministers Union, Inc., First Congregational Church, United Church
of Christ Incorporated, and Georgia Latino Alliance for Human Rights, Inc., The
New Georgia Project, Black Voters Matter Fund, Rise, Inc., Elbert Solomon, Fannie
Marie Jackson Gibbs, and Jauan Durbin.
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summary judgment briefing schedule, seven months after they filed their reply

briefs, and approximately three months after the 2024 election.

          Private Plaintiffs do not dispute that the 2024 election data ultimately may be

probative when the case proceeds to trial. In fact, Plaintiffs have previously

expressed their willingness to consider reopening discovery in limited

circumstances, specifically after summary judgement has been adjudicated and

before proceeding to trial. See ECF No. 921 at 1–2. However, State Defendants’

request to defer disposition of the fully briefed summary judgment motions in favor

of additional discovery and briefing would unnecessarily prolong this case even

further by delaying completion of the briefing on pending summary judgment

motions, this Court’s decisions on the motions, and ultimately the trial date, see J.

Boulee Standing Order at 32 (noting Pretrial Order shall be filed after close of

discovery or ruling on pending motions for summary judgment, whichever are later,

and upon receipt of the Pretrial Order, a trial date will be set), all of which unfairly

prejudices Private Plaintiffs. See Ware v. Peters, 2024 WL 4356566, at *6 (N.D. Ga.

Sept. 30, 2024) (concluding that reopening discovery when summary judgment has

been briefed “is itself unduly prejudicial”). State Defendants’ motion to reopen

discovery and engage in supplemental briefing should be denied.

          If, however, the Court does allow additional discovery and/or additional

summary judgment briefing, State Defendants’ proposed schedule should be rejected


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as impractical and inequitable. As the party with custody over much of the relevant

election data, State Defendants should first produce 2024 election data, after which

the parties can meet and confer to establish a fair schedule that does not unduly

disadvantage Private Plaintiffs.

II.       LEGAL ARGUMENT

          A.    State Defendants’ motion is procedurally improper.

          Under this Court’s Standing Order, discovery motions must be presented to

the Court in a “Consolidated/Joint Discovery Statement in which the parties describe

the dispute and succinctly summarize their respective positions and the relief

requested.” J. Boulee Standing Order at 25. 2 Rather than comply with the Court’s

procedure, State Defendants unilaterally filed this motion seeking to reopen

discovery. See ECF No. 917 at 7. Their motion disregards the Court’s Standing

Order for resolving such disputes and should therefore be denied.



2
  Any suggestion that the instant motion does not involve a discovery dispute, but
instead concerns only scheduling, is unavailing. It is difficult to conceive of a more
fundamental discovery dispute than whether discovery is even appropriate in the first
instance. And, indeed, courts routinely refer to motions to reopen discovery as
“discovery disputes.” See, e.g., Tatintsian v. Vorotyntsev, 2021 WL 780139, at *5
(S.D.N.Y. Jan. 27, 2021) (referring to a motion to reopen discovery as a “discovery
dispute”); Bell v. Lee, 2023 WL 5836812, at *4-5 (N.D. Cal. Sept. 8, 2023)
(categorizing plaintiff’s objection to scope of City’s motion to reopen discovery as
one of several discovery disputes); United States ex rel. Fisher v. IASIS Healthcare
LLC, 2018 WL 7864922, at *2 (D. Ariz. July 31, 2018) (“Plaintiffs/Relators
presented the Court with the eighth discovery dispute in this matter when they
moved the Court to reopen discovery…”).
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          B.    State Defendants’ motion fails on the merits.

          Procedural deficiencies aside, the motion also fails because State Defendants

do not provide sufficient basis to excuse their prolonged delay in seeking to reopen

discovery and file supplemental summary judgment briefing. Pursuant to Federal

Rule of Civil Procedure 16(b), “the district court must issue a scheduling order that

limits the time to complete discovery.” Ashmore v. Sec’y, Dep’t of Transp., 503 F.

App’x 683, 685 (11th Cir. 2013) (citing Fed. R. Civ. P. 6(b)). When a party seeks to

extend discovery after it has closed, the movant “must show both good cause and

excusable neglect.” Payne v. C.R. Bard, Inc., 606 F. App’x 940, 944 (11th Cir. 2015)

(emphasis added) (citing Fed. R. Civ. P. 6(b)(1), 16(b))). Courts have broad

discretion to enforce scheduling orders, and “[a] district court’s decision to hold

litigants to the clear terms of scheduling orders is not an abuse of discretion.” F.T.C.

v. Lalonde, 545 F. App’x 825, 834 (11th Cir. 2013).

          Here, State Defendants have not established either good cause or excusable

neglect to justify their delay. Granting their request at this stage would significantly

prejudice Private Plaintiffs, disrupt judicial proceedings, and waste judicial

resources.

                1.    Good cause does not exist.

          To establish that good cause exists to modify a scheduling order, including

discovery deadlines, a party must show that the schedule could not “be met despite


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the diligence of the party seeking the extension.” Fed. R. Civ. P. 16 Advisory

Committee’s Note; see Oravec v. Sunny Isles Luxury Ventures, L.C., 527 F.3d 1218,

1232 (11th Cir. 2008). The Eleventh Circuit evaluates diligence by a party’s

“attempts to gather relevant information during discovery, the timing of when the

information became available, and how soon the party moved to amend after

discovering the information.” Snadon v. Sew-Eurodrive, Inc., 859 F. App’x 896, 897

(11th Cir. 2021) (per curiam).

          State Defendants cannot demonstrate diligence here because their purported

need for supplemental discovery should have been readily apparent as early as June

2023 when they proposed their summary judgment schedule and the structure of

seven separate motions, or even a year ago when it became clear that summary

judgment briefing would conclude just six months before the November 2024

election. ECF Nos. 571, 580, Text Order (Feb. 29, 2024). The existence of the 2024

election was neither unforeseen nor “a newly discovered” event. Ward v. Anixter,

Inc., 2023 WL 11909432, at *16 (N.D. Ga. Oct. 17, 2023) (declining to find good

cause where the movant was aware of the evidence it sought long before moving to

reopen discovery). Nevertheless, State Defendants waited months before raising the

issue of reopening discovery and submitting supplemental summary judgment




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briefing with Private Plaintiffs. 3 This inaction underscores State Defendants’ lack of

diligence and precludes a finding of good cause. 4 See Johnson v. Doe, 2024 WL

3221825, *2 (N.D. Ga. May 1, 2024); Ware, 2024 WL 4356566, at *5 (“[L]ack of

diligence alone forecloses [defendants’] ability to show good cause.”) (citing Sosa

v. Airprint Sys., Inc., 133 F.3d 1417, 1418 (11th Cir. 1998)); see also Williams v.

Baldwin Cnty. Comm’n, 203 F.R.D. 512, 518-19 (S.D. Ala. 2001) (declining to

reopen discovery in Voting Rights Act case where movant failed to act diligently).

          Notably, the good cause standard does not turn on State Defendants’

allegations about the significance of evidence from the 2024 election; it turns on

whether State Defendants were diligent in requesting that discovery. Courts

routinely adjudicate election-related cases without waiting for new election data.

See, e.g., Citizens for Tax Reform v. Deters, 2006 WL 3420243, at *1 (S.D. Ohio

Nov. 27, 2006) (declining to reopen discovery for a new election cycle where “[t]he

parties have had ample time to take discovery regarding [the 2005 and 2004]

elections”); League of Women Voters of Florida Inc. v. Florida Secretary of State,




3
  Although State Defendants raised the issue of reopening discovery with Plaintiffs
in December 2024, they delayed filing their motion until the end of January.
4
  Furthermore, despite State Defendants recently filing a motion to reopen discovery
to address the United States’s intervention in this case (ECF No. 875), which State
Defendants subsequently withdrew (ECF No. 895), State Defendants never
discussed with Private Plaintiffs prior to the 2024 election the possibility of
reopening discovery to include the 2024 election.
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66 F. 4th 905 (11th Cir. 2023) (resolving a voting rights case without waiting for

future election data).

          State Defendants’ request to reopen discovery also conflicts with their

assertion—set forth in their own summary judgment motions—that no material facts

are in dispute. By seeking additional discovery, State Defendants implicitly

acknowledge that new facts could be relevant to the case, undermining their claim

that summary judgment is appropriate. In fact, further discovery may reveal even

more disputed material facts than those already in the record. If State Defendants

truly believed there were no material factual disputes, additional discovery should

be unnecessary. Because the motions for summary judgment are already fully

briefed, any motion to reopen discovery should be entertained only after and in light

of the Court’s summary judgment rulings.

          The cases cited by State Defendants do not support their request. In Barnette

v. Federal Express Corporation, 2011 WL 2413437, *2 (M.D. Fla. June 14, 2011),

the court found good cause because the opposing party continued to disclose

additional discovery after the discovery deadline had lapsed. That is not the case

here. Just the opposite: Plaintiffs have not proposed consideration of any additional

facts post the 2024 election; conversely, the State Defendants have failed to supply

Plaintiffs with any of the new data they purport to consider relevant. And in

Abruscato v. GEICO General Insurance Co., 2014 WL 12616965, *3 (M.D. Fla.


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May 30, 2014), the court reopened discovery because the moving party had sought

the discovery at issue before discovery closed and because there was no claim of

prejudice. The court went on to note that “prejudice to the non-movant is of primary

concern.” Id. In contrast, State Defendants are seeking to inject information about

the 2024 election into this Court’s decision on summary judgment while those

motions have been pending for almost a year, and Private Plaintiffs will be severely

prejudiced if that request is granted, as discussed further below.

                2.     State Defendants cannot show excusable neglect.

          Courts consider four factors when determining whether excusable neglect

exists: (1) the danger of prejudice to the non-movant; (2) the length of the delay and

its potential impact on judicial proceedings; (3) the reason for the delay and whether

it was within the reasonable control of the movant; and (4) whether the movant acted

in good faith. Pioneer Inv. Servs. Co. v. Brunswick Assocs. Ltd. P’ship, 507 U.S.

380, 395 (1993). Together, these factors weigh strongly against granting State

Defendants’ motion to reopen discovery.

          First, Private Plaintiffs will be severely prejudiced if discovery were to reopen

at this late juncture. Summary judgment has been fully briefed for over nine months.

“Reopening discovery” when summary judgment has been briefed “is itself unduly

prejudicial.” Ware, 2024 WL 4356566, at *6. State Defendants’ motion would

necessitate Private Plaintiffs expending substantial time and expense on additional


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discovery, as well as supplemental briefing on issues that may be moot after

summary judgment is decided. See Ward, 2023 WL 11909432, at *17; Sweet v.

Lockheed Martin Corp., 2009 WL 10664952, at *3 (N.D. Ga. Aug. 21, 2009)

(denying motion to reopen discovery where it “would result in additional costs and

fees . . . relating to the taking of the depositions, and might create a need for

[Plaintiffs] to make revisions to its summary judgment motion and supporting

documentation, causing additional expense . . . and creating delay in consideration

of the motion by the court.”). Indeed, courts routinely deny motions to reopen

discovery where summary judgment has been briefed due to the clear prejudice of

time, expense, additional briefing, and potential change in strategy as a result. 5 That

is especially the case here, where the parties submitted over 1,200 pages of briefing 6




5
  See, e.g., Paylan v. Teitelbaum, 798 F. App’x 458, 465 (11th Cir. 2020) (“We also
readily conclude that the district court did not abuse its discretion in denying
Paylan’s motion to reopen discovery filed several months after the motions for
summary judgment and responses were filed.”); Penson v. Dalton Heating & Air
Conditioning, Inc., 2024 WL 5320188, at *2 (N.D. Ga. Oct. 7, 2024) (“The parties
have fully briefed the summary judgment motion. Reopening discovery would entail
more expense and might necessitate re-briefing, which would cause [the non-
movant] to incur even more cost and delay this matter further.”); Battle v. Thomas,
2022 WL 17937991, at *2–3 (N.D. Ga. Aug. 11, 2022) (finding prejudice where
reopening discovery after summary judgment had been fully briefed “would likely
require [non-movant] to expend additional time and money to depose . . . expert[s],
and possibly . . . shift case strategy,” and file additional briefing, which would
“doubtless delay the adjudication of the case”).
6
  See ECF Nos. 757–764 (motions for summary judgment), 822–830 (opposition
briefs), 853–860 (reply briefs).
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and over 1,300 pages of evidence 7 relating to summary judgment motions. The

already voluminous summary judgment record also underscores that granting State

Defendants’ motion would not only burden Private Plaintiffs, but also the Court.

Adding even more briefing and evidence to the mountain of paper the Court has

before it will not aid the Court in ruling on the summary judgment motions, but

rather would hinder it. Lastly, the fact that a trial date has not yet been set (see Mot.

at 6) does not alter the prejudice to Private Plaintiffs nor explain away State

Defendants’ unreasonable delay. See Battle v. Thomas, 2022 WL 17937991, at *3

(denying motion to reopen discovery notwithstanding that “no trial date has been

set”). Indeed, under this Court’s Standing Order, a trial date cannot even be set until

summary judgment has been decided. See J. Boulee Standing Order at 32.

          Second, the delay that State Defendants characterize as “short” is, by their

own proposed schedule, no less than an additional nineteen weeksalmost five

monthsand long after the Court has already received the parties’ extensive

submissions for adjudication of State Defendants’ summary judgment motions. Mot.

at 6. Courts regularly deny motions to reopen discovery when doing so would delay




7
  See ECF Nos. 755, 807, 807-1, 861 (statements of material fact and responses
thereto).
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the proceedings or undermine considerations of judicial efficiency. 8 The parties’

summary judgment briefs have been pending before the Court for nearly a year, and

adding nearly five months for additional discovery and briefing would further delay

any summary judgment decision and, ultimately, trial. 9 State Defendants’ proposed

schedule does not even consider the additional time it may take the Court to consider

the new information in light of the thousands of pages of briefing and evidence it

has already received, or the corresponding burden to the Court and strain on judicial

resources. Nearly four years have passed since this matter was initiated, and Private

Plaintiffs have a significant interest in the timely disposition of this case. Reopening

discovery and briefing at this juncture imposes substantial—and unnecessary—costs

upon the parties and the Court, particularly given that the Court’s decision on State

Defendants’ summary judgment motions could obviate some or all of the purported

need for the discovery State Defendants seek.

          Third, State Defendants offer no valid justification for their delay. As

addressed above, State Defendants offer no explanation whatsoever for the timing



8
   See, e.g., Penson, 2024 WL 5320188, at *2 (“reopening discovery would
prejudice” the non-movant by “delay[ing] this matter further”); Battle, 2022 WL
17937991, at *3 (denying reopening discovery where it “would doubtless delay the
adjudication of the case”); Ware, 2024 WL 4356566, at *6 (“the remedy
[Defendants] want[] would cause further delay”).
9
  As this Court has previously noted, discussion about potential trial dates or logistics
is “premature” when “discovery is still ongoing” and dispositive motions have not
been filed or resolved. See ECF No. 400.
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of their motion other than to state the obvious: that the 2024 election had not yet

occurred in 2023. Mot. at 6. But that assertion misses the point. The parties

proceeded through discovery and to summary judgment with full knowledge that an

election would occur in 2024, just as one occurred in 2022, and as another will occur

in 2026. With this full knowledge, State Defendants chose to brief summary

judgment in 2023 instead of seeking to incorporate 2024 election data in their

motions. See Ward, 2023 WL 11909432, at *16 (denying a motion to reopen

discovery when the movant could have acted earlier but failed to do so).

III.      DISCOVERY SCHEDULE

          A.    State Defendants’ request to allow additional summary judgment
                briefing should at least be denied.

          If the Court is inclined to consider reopening discovery to allow for evidence

relating to the 2024 elections, it should nonetheless deny State Defendants’ request

for supplemental summary judgment briefing. Because this case cannot proceed

towards trial and a final resolution until discovery and dispositive motions have been

concluded and resolved, State Defendants’ request to reopen summary judgment

briefing prejudices Plaintiffs twice over: it imposes significant cost of yet another

round of briefing, and further delays the resolution of this case, which has been

pending for nearly four years. See ECF No. 400. This Court certainly has discretion

to grant limited additional discovery before the case proceeds to trial, see, e.g., Fair

Fight Action, Inc. v. Raffensperger, 2022 WL 6344390, at *1 (N.D. Ga. Apr. 7, 2022)
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(allowing limited additional discovery before trial but after summary judgment), but

requiring the parties to continue supplementing the briefing related to the long-

pending summary judgment motions would needlessly prolong this case. The

summary judgment record is already complete, it has been for over a year, and it is

sufficiently robust to allow the Court to assess SB 202’s impact. The Court should

thus reject State Defendants’ request for supplemental briefing.

          B.    If discovery is reopened, the parties must further meet and confer
                regarding proper scope and timing.

          Even if the Court grants State Defendants’ motion, it should reject State

Defendants’ proposed schedule as unworkable and inherently prejudicial for several

reasons.

          First, State Defendants propose that the parties simultaneously produce any

2024 election data on which their experts plan to rely. But the prior election data and

documents that Plaintiffs’ experts relied on were largely obtained from State and

County Defendants during fact discovery, and much of the relevant 2024 election

data is similarly solely within Defendants’ control. Without requiring that State

Defendants produce all relevant 2024 election data, Private Plaintiffs would be

without access to the full evidentiary record they would need to update their expert

reports. To prevent this unfair advantage, before any limited additional expert




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discovery period occurs, the Court should order that any Defendants 10 intending to

rely on 2024 election data meet and confer with Private Plaintiffs to discuss the 2024

election data and documents in their possession that are responsive to Private

Plaintiffs’ discovery requests, had those requests been drafted to include 2024

election data, 11 and produce the relevant data and documents to Private Plaintiffs.

          Second, State Defendants’ proposed schedule unfairly favors their own

experts, who may already possess the 2024 election data that State Defendants

control. In contrast, Private Plaintiffs’ experts must wait until State Defendants make

a complete production. The four-week period proposed by State Defendants for

expert reports is insufficient given this discrepancy in access. Private Plaintiffs

should be given more time to assess the data and determine how long their experts

will need to prepare supplemental reports. The Court should not impose a deadline

before Private Plaintiffs have had an opportunity to evaluate the new data and

documents.




10
   Although only State Defendants filed the present motion, if County Defendants
intend to rely on data from the 2024 election, they should be ordered to produce
relevant 2024 election data to Plaintiffs as well.
11
   For example, Private Plaintiffs requested, and State Defendants produced,
absentee files reflecting information about absentee-by-mail ballots cast in the 2016,
2018, and 2020 general elections, and the January 2021 runoff election. Private
Plaintiffs did not initially request information about the 2022 or 2024 elections
because of the discovery deadlines, although production of documents relating to the
2022 general and runoff elections were worked into the schedule.
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          Third, the schedule State Defendants proposed for supplemental briefing is

prejudicial and procedurally improper. Because State Defendants are the party

moving for summary judgment, they bear the burden of proof. Accordingly, State

Defendants should submit their supplemental brief first, followed by Plaintiffs’

responsive supplemental brief. This sequencing aligns with well-established briefing

practices and ensures that Plaintiffs would have a full and fair opportunity to respond

to State Defendants’ new arguments. Private Plaintiffs agree that no reply should be

permitted.

          In sum, if discovery is reopened at this stage, State Defendants should be

ordered to meet and confer with Plaintiffs and produce responsive 2024 election data

and documents. After that production is made, the parties can meet and confer to

jointly propose a schedule for supplemental expert reports and supplemental

summary judgment briefing (if necessary).

IV.       CONCLUSION

          In addition to failing to comply with the Court’s Standing Order, State

Defendants have not shown good cause or excusable neglect for their belated request

to reopen discovery. Elections continue to take place, but the judicial process

requires finality. The existing record is sufficient for the Court to rule on pending

motions for summary judgment, and reopening discovery at this point would unfairly

burden Private Plaintiffs, as well as the Court, while setting a precedent for endless


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litigation delays. The Court should deny State Defendants’ motion to reopen

discovery and supplement the summary judgment briefing.




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          CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 7.1(D)

          Pursuant to Local Rule 7.1(D), I certify that the foregoing document was

prepared in Times New Roman 14-point font in compliance with Local Rule 5.1(C).

                                              /s/ R. Adam Lauridsen
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                              CERTIFICATE OF SERVICE

          I hereby certify that on February 27, 2025, I electronically filed the foregoing

with the clerk of the court using the CM/ECF system, which will send notification

of this filing to counsel of record.

                                                  /s/ R. Adam Lauridsen
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